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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                        3:95cr03039/RV

WENDELL CRAWFORD


                                            ORDER

           This case is before the court upon remand from the Eleventh Circuit Court of Appeal
for a determination of whether the defendant is entitled to a certificate of appealability of
this court’s order denying his motion pursuant to § 3582(c)(2) on the ground that it was, in
substance, a second or successive § 2255 motion. (Doc. 374 at 7). This court found that
to the extent defendant’s § 3582 motion was a second or successive § 2255 motion, the
court lacked jurisdiction over the motion. The Eleventh Circuit noted that a certificate of
appealability was necessary to appeal that portion of this court’s order, and remanded the
case. (Id., citing 28 U.S.C. 2253(c)(1)(B) for the proposition that unless a certificate of
appealability issues, a defendant may not appeal from a final order denying section 2255
relief).     The court now finds that because the defendant has not made a substantial
showing of the denial of a constitutional right, defendant’s request for certificate of
appealability on the court’s finding that his § 3582 motion was actually a second or
successive § 2255 motion filed without leave of the appellate court is DENIED.


           DONE AND ORDERED this 20th day of June, 2007.


                                             /s/ Roger Vinson
                                             ROGER VINSON
                                             SENIOR UNITED STATES DISTRICT JUDGE
